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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                           MIDLAND/ODESSA DIVISION
UNITED STATES OF AMERICA                        §
                                                §
vs.                                             §      NO: MO:18-CR-00037(1)-DC
                                                §
(1) ANGELA MICHELLE WILLIAMS                    §

                         ORDER FOR SERVICE AND ADVISORY
       Before the Court is Movant Angela Michelle Williams’s (Movant) Motion to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody pursuant to 28 U.S.C. §2255 (§2255).

Preliminary examination of the §2255 indicates that summary dismissal is not appropriate.

       Accordingly, it is hereby ORDERED that the District Clerk SERVE copies of the

§2255, with all exhibits/attachments, and this Order upon Respondent through the United States

Attorney for the Western District of Texas; service by electronic means is acceptable, absent

further order from the Court. See Rule 3(b), Rules Governing §2255 Proceedings.

       It is further ORDERED Respondent shall demonstrate within sixty (60) days after

receipt of this Order as to why the relief Movant seeks should not be granted.

       Respondent shall include with its answer or other responsive pleading an affidavit

from the attorney or attorneys alleged to have rendered ineffective assistance in the course

of Movant’s representation, if applicable. That affidavit shall address the specific

allegations made by Movant in the §2255 motion. In the event Respondent is for good cause

unable to obtain an affidavit from Movant’s former counsel, Respondent shall so state and

explain in its answer.

       It is finally ORDERED that Movant shall take notice of and comply with the following:

Duty to Inform Court of Change of Address
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       Movant must immediately notify the Clerk and Respondent’s counsel in writing of any

change in address. Movant shall caption any such change of address advisory as “Notice to the

Court of Change of Address” and shall not include any motion or other matter in such notice.

Such notice shall contain only information pertaining to the address change and the effective date

of such change of address. Failure to immediately notify the Clerk and Respondent’s counsel of

any change in Movant’s mailing address will be interpreted by the Court as a failure to prosecute

and may result in the Court dismissing the §2255.

Duty to Respond to Opposing Motions within Fourteen (14) Days

       Local Court Rule CV-7(e) provides that a party opposing a motion must file a response to

the motion within fourteen (14) days of service of that motion and that said response is limited to

20 pages unless otherwise authorized by the Court. Any failure to file such a timely response

may be construed by the Court as a lack of opposition to the motion and result in the Court

granting the motion as unopposed. Additionally, if Movant fails to respond in a timely manner to

a motion filed by Respondent, the Court may dismiss Movant’s case for want of prosecution.

Ability to File Timely Reply

       Pursuant to Local Court Rule CV-7(f), a party may file a reply in support of a motion,

and any reply shall be filed within 7 days of the service of the response, but the Court need not

wait for the reply before ruling on the motion. Any reply shall be limited to 10 pages, unless

otherwise authorized by the Court. Absent leave of the Court, no further submissions on the

motion are allowed by either side.

Duty to Serve Opposing Counsel

       Movant is obligated under both the Federal Rules of Civil Procedure and this Court’s

Local Rules to send a copy of all pleadings, motions or other documents Movant submits to the
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Clerk of this Court for filing to Respondent or, after an attorney has made an appearance for

Respondent, Respondent’s counsel of record herein. The Court will disregard any pleading,

motion, or other document submitted for filing by Movant that fails to contain the “certificate of

service” required under Federal Rule of Civil Procedure 5(d). The “certificate of service” must

state the date and method (e.g., hand delivery, certified mail or regular mail) by which Movant

sent a copy of the pleading, motion or document to Respondent or Respondent’s counsel of

record. Once an attorney makes an appearance on behalf of a Respondent, Movant must send

Respondent’s attorney a copy of any pleading, motion, or document submitted for filing by

Movant.

       It is so ORDERED.

       SIGNED this 19th day of January, 2022.




                                     DAVID COUNTS
                                     UNITED STATES DISTRICT JUDGE




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